     Case 6:06-cr-00026-JRH-CLR Document 549 Filed 08/20/07 Page 1 of 20


                                                          U
               UNITED STATES DISTRICT COURT .

               SOUTHERN DISTRICT OF GEORGI A

                      STATESBORO DIVISION



UNITED STATES OF AMERICA,          )




V.                                 ) Case No . CR606-026

CHARLES WILLIS, )

     Defendant .


                   REPORT AND RECOMMENDATIO N

     Defendant has filed a motion to suppress the evidence seized from his

residence, place of business, and two rented storage units during the

execution of state search warrants issued by a superior court judge on

February 2, 2007 . Doc. 476. The government filed a response in opposition

to the motion, and defendant filed a supplement to his motion . Docs. 492,

513. The Court addressed this motion at a hearing on August 8, 2007 but

declined defendant's request for an evidentiary hearing . For the following

reasons, defendant's motion to suppress should be DENIED.
      Case 6:06-cr-00026-JRH-CLR Document 549 Filed 08/20/07 Page 2 of 20




I. BACKGROUND

      On February 2, 2007, a state agent presented an application for a

search warrant to a superior court judge seeking to search defendant's

residence, business, and two storage units located in Fulton County,

Georgia. Doc. 492, Ex . 2 (Affidavit and Application for Search Warrant) .

The affidavit for the warrant related that in March 2006 federal and state

law enforcement agencies commenced an investigation of the "Julius

Pinkston Drug Trafficking Organization ." Id. at 2 . After conducting a

court-authorized interception of wire communications that was completed

in June 2006,' the agents debriefed several principal participants of the

organization, each of whom admitted to being involved in drug distribution

activities . Id.

      During his interview, Julius Pinkston stated that he met defendant

Willis at the Jesup Federal Correctional Institution while both men were

serving sentences for separate cocaine trafficking convictions . Id.

According to Pinkston, the two men established a business relationship an d

       'On June 1, 2006, this Court authorized the interception of wire communications
to and from a telephone believed to be used in furtherance of the drug conspiracy . SO-
1021-DLM (Title III Order) . The Court also approved the use of pen registers and trap
and trace devices on April 12, 2006, May 22, 2006, and June 9, 2006 . Docs . SO1001-
DLM, S01018-DLM, S01020-DLM .

                                           2
     Case 6:06-cr-00026-JRH-CLR Document 549 Filed 08/20/07 Page 3 of 20




agreed to engage in for further cocaine trafficking upon their release from

confinement. Id. Pinkston identified defendant as his source of supply and

related that his largest single delivery of cocaine from Willis was four

kilograms and that Willis usually charged $20,000 per kilogram . Id .

Pinkston stated that "Willis hides cocaine in his business and residence"

and furnished the agents with a description of both properties . Id . The

agents then confirmed the location and defendant's ownership of the

business and residence . Id.

      The agents also interviewed Julius Pinkston's children, Michael

Pinkston, Kimberly Pinkston, and Stephanie Collins . Michael Pinkston

stated that he distributed cocaine for defendant and described Willis as the

"ringleader" of the Pinkston organization. Id. at 2 . When Michael Pinkston

became involved in the organization, his father had been receiving multiple

kilograms of cocaine from defendant on a weekly basis and Michael assisted

his father in distributing the cocaine . Id . at 3 . Michael stated that he had

personally observed defendant deliver multi-kilogram quantities of cocaine

and marijuana to Stephanie Collins's residence and, on one occasion,

receive $16,000 as payment for prior drug sales . Id. at 2 . Some of thes e



                                       3
     Case 6:06-cr-00026-JRH-CLR Document 549 Filed 08/20/07 Page 4 of 20




drug deliveries occurred between August and November 2005 . Id.

According to Michael, Willis and his girlfriend are involved in a real estate

business that serves as a front for their drug activities . Id. At one point,

defendant told Michael that he received his cocaine from overseas in 500 to

600 kilogram shipments . Id .

      Kimberly Pinkston admitted that she delivered cocaine and collected

money from drug customers at the direction of her father . Id. According

to Kimberly, defendant "fronted" Julius Pinkston his drug supply after he

was released from prison . Id. She described defendant as her father' s

"source" and stated that on separate occasions she observed . defendant

deliver as much as six kilograms of cocaine to her sister's residence in

Metter, Georgia and receive a $60,000 payment for drugs sold by the

Pinkston organization . Id.

      Stephanie Collins stated that following her father's discharge from a

halfway house in April 2005, he began to distribute cocaine furnished by

defendant Willis . Id. On several occasions she traveled to Atlanta to pick

up cocaine at defendant's business located on Old National Highway . Id.

Defendant then began bringing multi-kilogram cocaine shipments to Mette r


                                      4
     Case 6:06-cr-00026-JRH-CLR Document 549 Filed 08/20/07 Page 5 of 20




himself, and Collins provided details about the vehicles defendant drove,

price negotiations and stash houses for the cocaine, and other participants

in the drug distribution conspiracy . Id.

      Agents later conducted surveillance of defendant's residence and

business and noted that defendant's residence had been equipped with four

closed-circuit security video cameras on each corner with infrared night

vision recording capability . Id. at 3-4 . Agents also confirmed that both

defendant and Julius Pinkston had previously served federal prison

sentences for drug crimes . Id . at 4 .

      On January 25, 2007, a DEA task force agent conducting a drug

interdiction operation in Detroit, Michigan noticed a rental Penske truck

parked outside a hotel . Id. The truck (which was listed as stolen because

it was overdue for return) was registered under defendant Willis' name, as

was a room at the hotel. Id. After learning that defendant was the subject

of a drug investigation in Georgia and was wanted for arrest on federal

charges, the agent positively identified Julius Pinkston as the individual

who was checking out of the room registered to defendant. Id.

      On February 1, 2007, federal agents arrested defendant at th e



                                          5
     Case 6:06-cr-00026-JRH-CLR Document 549 Filed 08/20/07 Page 6 of 20




Savannah International Airport and conducted a search of his briefcase,

where they discovered over $4,000 in currency (folded and secured by

rubber bands), a Penske truck rental agreement, and numerous other

documents, including two rental storage unit account statements listing

defendant as the account holder . Id. During a post-arrest interview,

defendant appeared calm and composed, but when asked about the contents

of his storage units, he became nervous, apprehensive, and evasive . Id.

       Finally, the affiant stated that based upon his training and experience

as a GBI agent charged with investigating drug crimes, he was aware that

cocaine traffickers frequently conceal drugs, currency, financial documents,

travel and telephone records, and other indicia of their drug trafficking

activities in their homes, businesses, automobiles, and rental storage

facilities . Id. at 4-5.



II. ANALYSIS

      Defendant raises two arguments in his motion to suppress : (1) that

the agent made material misstatements and omissions in the affidavit

which he furnished to the superior court judge, and (2) that the affidavit di d



                                       6
      Case 6:06-cr-00026-JRH-CLR Document 549 Filed 08/20/07 Page 7 of 20




not establish probable cause for the issuance of the warrant . Neither

argument has any merit .



      A.     Affiant's Veracity

      Defendant contends that the affidavit in support of the search

warrant omits certain pertinent information and contains misleading

statements that undermine the probable cause basis for the warrant . Doc.

513 . While there is no ban on challenging the veracity of a search warrant

affidavit that is otherwise facially sufficient, it is well settled that there is

no automatic right to make such a challenge. 2 Wayne R . LaFave, Search

and Seizure § 4 .4(d) (4th ed. 2004) . A defendant who asks the court to look

outside the four corners of the warrant is entitled to a hearing only if he

"makes a substantial preliminary showing that a false statement knowingly

and intentionally, or with reckless disregard for the truth, was included by

the affiant in the warrant affidavit . . . ." Franks v. Delaware, 438 U.S. 154,

155-56 (1978) .2 Given the presumption of validity accorded to search

       'Although Franks addressed only an alleged false statement in the search warrant
affidavit, the reasoning of that case covers material omissions as well . United States v.
Marti , 615 F.2d 318 (5th Cir . 1980) ; 2 LaFave, Search and Seizure § 4 .4(b) . "Franks
protects against omissions that are designed to mislead, or that are made in reckless
disregard of whether they would mislead, the magistrate . . . . For an omission to serve

                                            7
      Case 6:06-cr-00026-JRH-CLR Document 549 Filed 08/20/07 Page 8 of 20




warrant affidavits , the Franks Court insisted that the defendant meet a

number of requirements before his challenge to the veracity of an affidavit

could be heard :

       To mandate an evidentiary hearing, the challenger 's attack
       must be more than conclusory and must be supported by more
       th an a mere desire to cross - examine. There must be allegations
       of deliberate falsehood or reckless disregard for the truth, and
       those allegations must be accompanied by an offer of proof .
       They should point out specifically the portion of the warrant
       affidavit that is claimed . to be false; and they must be
       accompanied by a statement of supporting reasons. Affidavits or
       sworn or otherwise reliable statements of witnesses should be
       furnished , or their absence satisfactorily explained .

Id. at 171 . Even upon such a showing , a hearing is required only "if the

allegedly false statement is necessary to the finding of probable cause ." Id.

at 156.

       Defendant contends that the warrant affidavit omits certain pertinent

information critical to the determination of probable cause .                   Doc. 513 .

Specifically, defendant notes that the affidavit failed to mention (1) that

Julius Pinkston had absconded following his interview , ( 2) that during his

interview Michael Pinkston expressed his dislike of Willis or, (3) th e


as the basis for a hearing under Franks, it must be such that its inclusion in the affidavit
would defeat probable cause ." United States v . Colklev , 899 F .2d 297, 301 ( 4th Cir .
1990) .

                                             8
      Case 6:06-cr-00026-JRH-CLR Document 549 Filed 08/20/07 Page 9 of 20




criminal history of each informant . Defendant, however, has failed to show

that the affiant either intentionally or recklessly omitted this information,

much less that the inclusion of this information would have defeated

probable cause . Julius Pinkston's status as a fugitive at the time the

warrant was sought is an interesting fact, but defendant does not explai n

how its omission undermined the reliability of "all" the information h e

provided during his earlier debriefing by the agents . Julius Pinkston

admitted to the agents that he trafficked in large quantities of cocaine in

the Metter area and identified Willis as his partner and supplier . The fact

that Pinkston later became a fugitive (and remains so) reflects more of a

desire to escape punishment than to fabricate evidence against Willis .

Likewise, Michael Pinkston freely acknowledged his role as a drug

distributor for his father, and his description of Willis' role in the drug

enterprise was corroborated by each of the other individuals interviewed by

the agents . His dislike of Willis-even if known by the affiant3-does not

establish that he was lying to the agents or exaggerating defendant's role .




        3Defendant refers to a single sentence in a DEA 6 prepared on January 16, 2007
by a Savannah DEA task force agent . Doc. 513, Ex . C, ¶ 2 ("Pinkston has never liked
Willis . . . . ") This DEA 6 was one of many investigative reports generated in this case .

                                             9
     Case 6:06-cr-00026-JRH-CLR Document 549 Filed 08/20/07 Page 10 of 20




Finally, while the affidavit does not detail the criminal histories of Julius

Pinkston and his children (although it does reference Julius' conviction of

a federal drug crime), this is a minor omission, for each is described as a

self-acknowledged participant in a criminal enterprise involving the

distribution of large quantities of cocaine. The affidavit, therefore, does not

portray any of the government's sources in a false light .

      Thus, there is no evidence that any of the cited omissions were

designed to mislead the judge or that the inclusion of the information would

have undermined probable cause . In other words, had all of the omitted

information been included in the affidavit, the warrants would still have

issued.

      Defendant also alleges that the affidavit contains several misleading

statements : (1) while the affidavit states that Julius Pinkston "identified

his source of cocaine supply as Charles Willis," in fact Julius told the agents

that he had several suppliers and that his main supplier was "Rico LNU ;"

(2) that the affidavit incorrectly states that agents conducted only "non-

custodial" interviews of Julius Pinkston's children, whereas certain of the

interviews occurred while these co-defendants were in custody; and (3 )



                                      10
     Case 6:06-cr-00026-JRH-CLR Document 549 Filed 08/20/07 Page 11 of 20




while the affidavit indicates that Julius furnished the location and

description of Willis' residence and business, in fact Pinkston provided only

a general, non-detailed description of these properties. Doc. 513, at 7 . But

even if the agent deliberately or recklessly included these misstatements in

his affidavit, defendant has failed to show that any of the cited

misstatements is material to the finding of probable cause . Stating that

Julius Pinkston identified Willis as "his source" of supply, thus implying

that he was the sole source, is of little significance, since both Julius and his

children acknowledged that Willis was a major supplier of cocaine to the

Pinkston organization, often furnishing multi-kilogram quantities of the

drug. Nor does the fact that some of the interviews were custodial rather

than non-custodial constitute to a material falsehood . Finally, however

non-specific Julius Pinkston's description of defendant's residence and

business, that description was sufficient to enable the agents to locate those

properties (which the agents then confirmed were owned by Willis) .

      A challenge to the truthfulness of an affidavit underlying a search

warrant cannot be mounted without a threshold showing of material falsity .

Defendant has failed to make such a "substantial preliminary showing . "


                                       11
    Case 6:06-cr-00026-JRH-CLR Document 549 Filed 08/20/07 Page 12 of 20




Franks, 438 U. S. at 155. Accordingly, defendant was not entitled to an

evidentiary hearing so that he could cross - examine the agent about what

are clearly non-material deficiencies to his affidavit.



      B. Probable Cause

      Defendant also contends that the there was no probable cause to

justify the issuance of the search warrants because the information

supporting the affidavit is impermissibly stale and there is a lack of nexus

between the alleged illegal activities and the locations searched . Doc. 513 .

      Defendant notes that the February 2, 2007 warrant affidavit was

based on information that was primarily gathered during interviews

conducted some seven months earlier and that pertained to events

occurring during 2005 and early 2006 . It is axiomatic that information

furnished in an application for a search warrant must be timely, for

probable cause is assessed at the time the warrant issues and cannot rest

upon stale information . United States v . Harris , 20 F.3d 445, 450 (11th Cir .

1994) ; United States v . Bascaro , 742 F . 2d 1335, 1345 (11th Cir. 1984),

abrogated on other grounds by United States v. Lewis , 2007 WL 203382 3


                                       12
      Case 6:06-cr-00026-JRH-CLR Document 549 Filed 08/20/07 Page 13 of 20




(11th Cir. 2007) . "When reviewing staleness challenges we do not apply

some talismanic rule which establishes arbitrary time limitations for

presenting information to a magistrate, rather, we review each case based

on the unique facts presented ." Harris , 20 F .3d at 450. "[E]ven stale

information is not fatal if the government affidavit updates, substantiates,

or corroborates the state material ." Id. Furthermore, "[p]rotracted and

continuous activity is inherent in large-scale drug trafficking operations . .

. . In such cases, then, the staleness issue should be construed liberally ."

Bascaro , 742 F2d at 1346 (citation omitted) ; United States v. Hooshmand,

931 F.2d 725, 735 (11th Cir . 1991) ("when the alleged criminal activity is

ongoing . . . it is unlikely that the passage of time will dissipate probable

cause .") .

       In this case, the warrant affidavit relates a continuous drug traffiking

enterprise that lasted longer than a year and involved the distribution of

many kilograms of cocaine. See doc. 492, Ex . 2 . Defendant was described

as a key player in the conspiracy and a major supplier of drugs for the

Pinkston organization . Although much of the information relates to events

in 2005 and early 2006, agents developed information that Julius Pinksto n



                                       13
    Case 6:06-cr-00026-JRH-CLR Document 549 Filed 08/20/07 Page 14 of 20




and defendant were engaged in a joint venture together in Michigan as late

as January 2007, less than a month prior the issuance of the warrant . This

information establishes a recent association between Pinkston and

defendant and their probable continued involvement in drug trafficking .

      Because the affidavit establishes that defendant was a major figure in

the Pinkston drug trafficking organization and demonstrates a continuing

association between Julius Pinkston and defendant, it was reasonable to

infer that evidence of defendant's drug trafficking activities was concealed

at his residence, business, and storage units at the time the warrant issued .

      Defendant also contends that the warrant affidavit failed to

demonstrate a sufficient nexus between the alleged illegal activities and the

locations to be searched . Doc . 513 . The Constitution protects citizens

against "unreasonable searches and seizures" and provides specifically that

no search warrant shall issue except "upon probable cause ." U .S . Const.

amend. IV . The Supreme Court has held that a search warrant should issue

where the affidavit supporting the application for the search warrant

establishes that "there is a fair probability that contraband or evidence of

a crime will be found in a particular place ." Illinois v . Gates, 462 U .S. 213 ,


                                        14
      Case 6:06-cr-00026-JRH-CLR Document 549 Filed 08/20/07 Page 15 of 20




238 (1983) ; see also United States v . Brundidge, 170 F .3d 1350, 1352 (11th

Cir. 1999) . A court must consider the totality of the evidence in

determining whether probable cause exists to justify the issuance of a

search warrant, and that determination turns on the "assessment of

probabilities in particular factual contexts . . . ." Gates, 462 U .S. at 232 .

The evidence "must be seen and weighed not in terms of library analysis by

scholars, but as understood by those versed in the field of law enforcement ."

Id.

      It is the task of a reviewing court to determine whether the issuing

judge had a "substantial basis" for finding probable cause . Gates, 462 U.S .

at 238-39 . While the Supreme Court has recognized "that the preference

for warrants is more appropriately effectuated by according `great

deference' to a magistrate's determination," United States v. Leon , 468 U .S.

897, 914 (1984), "[s]ufficient information must be presented to the

magistrate to allow that official to determine probable cause ; his action

cannot be a mere ratification of the bare conclusions of others." Gates, 462

U.S. at 239. "Even if the warrant application was supported by a more than

`bare bones' affidavit, a reviewing court may properly conclude that ,



                                      15
     Case 6:06-cr-00026-JRH-CLR Document 549 Filed 08/20/07 Page 16 of 20




notwithstanding the deference that magistrates deserve, the warrant was

invalid because the magistrate's probable-cause determination reflected an

improper analysis of the totality of the circumstances . . . ." Leon, 468 U.S .

at 915 . In evaluating whether a substantial basis for probable cause exits,

the reviewing court must consider whether the issuing judge made "`a

practical, common-sense decision whether, given all the circumstances set

forth in the affidavit before him, including the `veracity' and `basis of

knowledge' of persons supplying [the] hearsay information,' there is

probable cause to issue the search warrant ." United States v. Betancourt,

734 F.2d 750, 754 (11th Cir . 1984) (quoting Gates, 462 U .S . at 238-39)) .

      Defendant's contention that the affidavit failed to establish a nexus

between his criminal activities and his business is utterly without merit, for

not only did Julius Pinkston state that defendant stored cocaine at his

business, Stephanie Collins acknowledged that on two occasions she

traveled to defendant's business on Old National Highway to pick up

cocaine . Doc . 496, Ex . 2. Michael Pinkston also stated that defendant used

his real estate business as a front for his drug activities . Agents then

confirmed that defendant owned a business located at 4854 Old Nationa l


                                      16
     Case 6:06-cr-00026-JRH-CLR Document 549 Filed 08/20/07 Page 17 of 20




Highway, in College Park, Georgia . Id . This information furnished ample

probable cause to believe that evidence of defendant's extensive drug

trafficking activities would be found at his business .

       Although Julius Pinkston stated that defendant hides cocaine in his

residence and provided a physical description of the property, the affidavit

does not detail the basis for Pinkston's allegation that Willis kept drugs at

his home, and none of the other interviewees referenced defendant's

residence in their statements to the agents . Doc. 492, Ex . 2 . The agents,

however, were able to locate defendant's residence using Pinkston's

information. Further, the GBI agent who applied for the warrant stated in

his affidavit that his education, training, and experience as a drug

investigator led him to believe that drug traffickers frequently maintain

and conceal drugs and drug-related items within their residences . As a

number of courts have recognized, a defendant's role as a key figure in a

drug organization is often sufficient, in and of itself, to infer probable cause

for a search of his residence even without any direct observation of illegal

activity .   United States v . Pitts, 6 F.3d 1366, 1369 (9th Cir . 1993)

(recognizing that "in the case of drug dealers, evidence is likely to be foun d



                                       17
    Case 6:06-cr-00026-JRH-CLR Document 549 Filed 08/20/07 Page 18 of 20




where the dealers live") ; United States v. Restre_po , 994 F.2d 173, 188-89

(5th Cir. 1993) (residence search upheld where affidavit suggested

defendant's involvement in drug activity and officer stated his experience

that drug traffickers maintain evidence of their illegal activities in their

homes) ; United States v . Thomas, 989 F.2d 1252, 1254-55 (D.C . Cir. 1993)

(defendant's drug activity created probable cause to search his residence

even though there was no direct observation of illegal activity at his home) ;

United States v. Jenkins, 901 F.2d 1075, 1080 (11th Cir .), (1990) (the

required nexus between the defendant's criminal activity and his residence

"need not rest on direct observation") . Such an inference is appropriate in

this case, as the government conducted a careful and extended investigation

that confirmed defendant's participation as a major player in a drug

conspiracy involving the distribution of large quantities of cocaine . Viewing

the evidence in its totality, the state judge had a substantial basis for

finding probable cause to authorize a search of defendant's residence .

      Upon defendant's arrest at the Savannah International Airport,

agents searched his carry-on briefcase and discovered account statements

for two storage units leased in defendant's name . Doc . 496, Ex . 2 . During



                                      18
    Case 6:06-cr-00026-JRH-CLR Document 549 Filed 08/20/07 Page 19 of 20




questioning following his arrest, defendant's demeanor changed from calm

to exceedingly nervous and evasive when asked about the contents of the

storage units. Id . The agent seeking the warrant also stated that he knew

through his training and experience that "common methods of operations

of illegal drug traffickers include utilizing mini-warehouse self-storage type

facilities to stash large quantities of cocaine ." Id. Given the great deference

that must be accorded to the superior court judge's determination, there

was a probable cause basis for the issuance of warrants for the two storage

units.

         Given the totality of the information presented in the affidavit, the

issuing superior court judge had a substantial basis for concluding that

there was probable cause to believe that contraband was likely concealed in

defendant's residence, business, and storage units .




III. CONCLUSIO N

         Defendant has not made the required preliminary showing that the

affidavit was materially false, and therefore he is not entitled to an

evidentiary hearing to contest the affiant's veracity. Reviewing the totality


                                        19
     Case 6:06-cr-00026-JRH-CLR Document 549 Filed 08/20/07 Page 20 of 20




of the evidence set forth in the affidavit, the issuing judge had a substantial

basis for finding probable cause that evidence of defendant' s criminal

activities would be found in each of the locations sought to be searched .

Accordingly, defendant's motion to suppress should be DENIED .

      SO REPORTED AND RECOMMENDED this day of

August, 2007 .



                                            SOUTHERN DISTRICT OF GEORGIA




                                       20
